        Case 4:05-cr-00243-BLW Document 42 Filed 05/31/22 Page 1 of 3




                      UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF

AMERICA,                                       Case No. 4:05-cr-00243-BLW

              Plaintiff,                       GARNISHMENT
       vs.                                     DISPOSITION ORDER

DENNIS DIXEY,

              Defendant,

       and

SHOSHONE-BANNOCK TRIBES OF
THE FORT HALL RESERVATION
and the FORT HALL HOUSING
AUTHORITY,

              Garnishee(s).


      Before the Court is the United States’ Motion for Garnishment Disposition

Order. (Dkt. 41.) The Court entered a Writ of Continuing Garnishment (Dkt. 36),

directed to Garnishees, Shoshone-Bannock Tribes of The Fort Hall Reservation

and the Fort Hall Housing Authority, and it was served upon the Garnishees (see

Dkt. 37). Pursuant to the Writ of Continuing Garnishment, Garnishees filed

answers. (Dkts. 38-40.) For Garnishee, Fort Hall Housing Authority, it indicated

that it has in its possession or under its control non-exempt property belonging to

and due Defendant, Dennis Dixey, and that it was indebted to Defendant because

ORDER OF GARNISHMENT – 1
        Case 4:05-cr-00243-BLW Document 42 Filed 05/31/22 Page 2 of 3




Defendant works for it. (See Dkt. 39.) For Garnishee, Shoshone-Bannock Tribes

of The Fort Hall Reservation, it disclosed that Defendant is a member of the Tribe

and that the Tribe’s Fort Hall Business Council periodically may authorize per

capita gaming distributions to members. (Dkt. 40.)

      On January 14, 2022, Defendant received notice of a right to a hearing and

has not requested a hearing nor filed any claim of exemption, objection, or other

pleading in opposition to the garnishment or to the answers of Garnishees.

      THEREFORE, IT IS HEREBY ORDERED that, pursuant to 28 U.S.C. §

3205(c)(7) and 15 U.S.C. § 1673(a), Garnishees shall pay to Plaintiff, United

States of America, upon completion of any prior garnishments currently being

honored, the following:

   • The lesser of: (1) twenty-five percent (25%) of the Defendant’s disposable

      earnings or (2) the amount by which the Defendant’s disposable earnings

      exceed thirty times the federal minimum hourly wage, currently $7.25 per

      hour; and

   • Any per capita gaming distributions now or in the future authorized to be

      disbursed to Defendant.

      Payments shall be made payable to the Clerk of the U.S. District Court, and

delivered or mailed to 550 West Fort Street, Boise, Idaho 83724.




ORDER OF GARNISHMENT – 2
         Case 4:05-cr-00243-BLW Document 42 Filed 05/31/22 Page 3 of 3




       IT IS FURTHER ORDERED that Garnishees shall continue said

payments until Defendant’s debt to the United States is paid in full or until the

garnishment is otherwise terminated pursuant to 28 U.S.C. § 3205(c)(10);

provided, however, that the requirement to pay Defendant’s per capita gaming

distributions shall continue until the debt is paid in full.

       IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 3011(a), the

United States shall recover as part of this garnishment a surcharge of 10% of

the amount of the outstanding debt.

       The Clerk of the Court shall mail a copy of this Order to the

Defendant and to the Garnishees.



                                                 DATED: May 31, 2022


                                                 _________________________
                                                 B. Lynn Winmill
                                                 U.S. District Court Judge




ORDER OF GARNISHMENT – 3
